Case 6:21-cv-00808-WWB-EJK Document 87 Filed 12/06/22 Page 1 of 11 PageID 1687




                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION

 PAMELA R. MATHEWS,

         Plaintiff,

 v.                                                          Case No.: 6:21-cv-00808-WWB-EJK

 BRYAN A. COLE,

      Defendant.
 ___________________________/

                     DEFENDANT’S MOTION IN LIMINE TO
                  EXCLUDE LAY EVIDENCE THAT PLAINTIFF
               HAD ANY PARTICULAR PSYCHIATRIC CONDITIONS
            OR SYMPTOMS, AND/OR THAT ANY SUCH CONDITIONS OR
         SYMPTOMS IMPACTED HER MEMORY, PERCEPTION, OR BEHAVIOR

         Defendant Bryan A. Cole (“Cole”), by and through his undersigned counsel and

 pursuant to Federal Rules of Civil Procedure 26 and 37, and Federal Rule of Evidence

 701, moves the Court for an order excluding at trial any lay evidence (1) that Plaintiff

 Pamela R. Mathews (“Plaintiff”) was diagnosed with or had/experienced dissociation,

 post-traumatic stress disorder (“PTSD”), Stockholm syndrome, or any other psychiatric

 conditions or symptoms, and/or (2) that any such psychiatric conditions or symptoms

 impacted her memory, perception, or behavior. 1 In support hereof, Cole states as follows:




 1 In the transcript of Plaintiff’s deposition, “dissociation” is spelled as “disassociation.” (E.g., Doc. 85-4 at
 35:19-25). Moreover, the psychiatric diagnosis recognized by the Diagnostic and Statistical Manual of
 Mental Disorders, Fifth Edition (“DSM-5”) for the dissociative condition associated with the inability to
 remember things – which is one of the symptoms that Plaintiff described in her deposition – is “dissociative
 amnesia.” The DSM-5 also lists dissociative symptoms in connection with PTSD.
Case 6:21-cv-00808-WWB-EJK Document 87 Filed 12/06/22 Page 2 of 11 PageID 1688




 I.      Introduction and Background.

         On June 28, 2021, Plaintiff filed the operative Second Amended Complaint and

 Jury Demand (“SAC”). 2 (Doc. 20). In that rambling pleading, Plaintiff alleges that she and

 Cole had a several-year romantic relationship during which Cole supposedly physically

 and emotionally abused her. Pertinent here, a main theme of Plaintiff’s story is that Cole

 caused her to suffer all manner of supposed psychological injuries. In particular, Plaintiff

 scatters throughout the SAC numerous allegations that Cole caused her to suffer PTSD,

 panic attacks, depression, and anxiety. (Doc. 20 at ¶¶ 24, 36, 63-64, 67, 83, 113). Based

 upon these false accusations (and a plethora of other false and sordid allegations),

 Plaintiff asserts a single cause of action against Cole under Fla. Stat. § 768.35, and seeks

 a mind-boggling $50 million in damages.

         On August 20, 2021, Cole filed his Answer and Affirmative Defenses to the SAC.

 (Doc. 34). In his affirmative defenses, he argued that “[m]ost if not all of Plaintiff’s alleged

 emotional injuries, if any, were pre-existing long prior to Plaintiff even meeting Cole (in

 2013), and/or were caused or exacerbated by Plaintiff’s admitted long-term alcohol abuse

 and/or her other failed personal relationships.” (Doc. 34 at 11). Cole further contended

 that “[t]o the extent Plaintiff suffered any legally cognizable emotional injuries … Plaintiff

 failed to join herein the parties responsible,” including her five (5) prior husbands. (Id.) He

 also argued Plaintiff “could at all times material hereto support herself financially,” was

 “highly experienced in legal matters,” “always had the know-how, resources and family

 support to leave any personal relationship that was not to her liking,” and “willingly and



 2 Cole filed a Motion to Strike and For More Definite Statement as to the SAC (the “Motion to Strike”). (Doc.
 26). On August 6, 2021, the Court entered an Order granting in part and denying in part the Motion to Strike
 in which the Court struck paragraphs 13-20, 25, 28, 33, 57, 71, 72 and 96 from the SAC. (Doc. 31).


                                                      2
Case 6:21-cv-00808-WWB-EJK Document 87 Filed 12/06/22 Page 3 of 11 PageID 1689




 knowingly stayed in the relationship with Cole for many years, and went to great lengths

 to perpetuate it (even after Cole tried to amicably and reasonably end the relationship

 much earlier).” (Doc. 34 at 12-13).

        Additionally, Cole claimed that “[t]o the extent Plaintiff observed or engaged in

 sexual activities that she alleges are part of her claim, Plaintiff was always an eager,

 knowing and consensual participant in those activities (and, in fact, often the instigator

 and organizer of same),” and “[t]o the extent Cole interacted with Plaintiff in any manner

 that Plaintiff now describes as a purported form of assault, battery or false imprisonment,

 such interaction was strictly an act of self-defense that was undertaken by Cole only in

 response to Plaintiff’s prior (usually alcohol-induced) aggression, attacks or other acts of

 violence.” (Doc. 34 at 13-14). Furthermore, Cole asserted that “Plaintiff’s claim is based

 upon events during which she was under the influence of alcoholic beverages and/or

 drugs to the extent that her normal faculties were impaired.” (Doc. 34 at 16).

        Plaintiff was deposed on March 10, 2022. In response to counsel’s questions

 relevant to Plaintiff’s claims and Cole’s affirmative defenses, Plaintiff repeatedly stated

 (a) she has Stockholm syndrome, complex PTSD, and dissociation, (b) these alleged

 psychiatric conditions or symptoms impacted her ability to remember things, or otherwise

 affected her appearance, behavior, and awareness of her actions. (See Doc. 85-4 at

 35:22-36:10, 49:11-50:5, 51:9-25, 75:11-15, 77:7-10, 104:9-25, 158:2-13, 210:20-

 211:20).

        For example, in response to questions about the arrest of one of her former

 husbands, Plaintiff claimed she was “[s]omewhat” “involved in the process of him being

 arrested” but was not sure that she “made statements to the police officers that resulted




                                              3
Case 6:21-cv-00808-WWB-EJK Document 87 Filed 12/06/22 Page 4 of 11 PageID 1690




 in” the arrest. (Doc. 85-4 at 35:10-15). When questioned about her memory, she claimed

 “Stockholm syndrome, complex PTSD, and disassociation [sic]” “impact[ed] her ability to

 remember things.” (Doc. 85-4 at 35:19-36:10). Regarding questions about another

 domestic-relations-related police incident involving a different husband, which resulted in

 Plaintiff’s arrest, she claimed that the police report’s description – and related video – of

 her (a) slurred, incoherent, and repetitive speech, (b) physical swaying and stumbling,

 and (c) alcohol breath did not indicate that she was drunk; instead, she claimed these

 observed conditions reflected signs of her alleged complex PTSD, Stockholm syndrome,

 and dissociation. (Doc. 85-4 at 46:14-50:10).

        In relation to further inquiries about repeated police calls, Plaintiff claimed these

 calls were the result of her current husband not knowing what to do with her due to her

 “[b]ack flashes” and her “not being able to understand [she] disassociate[s] [sic].” (Doc.

 85-4 at 51:3-24). She also claimed that an incident involving law enforcement and her

 guns occurred because of her husband’s concern about her “condition and disassociation

 [sic].” (Doc. 85-4 at 75:7-15). And with respect to a potential incident where Plaintiff’s

 current husband might have given an account of Plaintiff trying to stab his juvenile son,

 Plaintiff stated that if her husband had given such an account to police officers, “it was

 because of duress, it was because of him learning [she] can disassociate [sic], [and] it

 was fear of what [she] could do, given [her] disease.” (Doc. 85-4 at 76:17-77:10).

        When asked about another potential police incident involving her use of a

 handgun, Plaintiff stated that if police records confirmed that the incident indeed occurred,

 she would respond that she has “no recollection” because “[t]hey say [she] disassociate[s]

 [sic],” meaning she has supposedly been through “so much trauma that [her] instinct is




                                              4
Case 6:21-cv-00808-WWB-EJK Document 87 Filed 12/06/22 Page 5 of 11 PageID 1691




 something else takes over and [she] just [doesn’t] remember” because she is “not even

 the same person.” (Doc. 85-4 at 104:11-105:2).

       As to her allegations of purportedly forced sexual liaisons, she stated that while

 she was not physically forced into sexual activity, she had no choice but to participate

 because of Stockholm syndrome, which supposedly made her believe refusal would

 mean loss of Cole and his resources. (Doc. 85-4 at 157:22-158:13). And, in the context

 of her $50 million damages claim, when asked to explain why she did not just leave Cole,

 she again blamed Stockholm syndrome and complex PTSD. (Doc. 85-4 at 209:13-

 210:23).

       Ultimately, when confronted in her deposition with questions about occurrences

 bearing on her own conduct, appearance, and decisions, Plaintiff consistently blamed

 Stockholm syndrome, complex PTSD, dissociation, or other psychiatric ailments she

 claims to have. Plaintiff essentially asserted that she could not answer many questions

 because of her self-professed psychiatric limitations. However, diagnosis of these mental

 health conditions and/or their symptoms is a matter requiring expert testimony (which

 she does not have). So to the extent Plaintiff attempts to employ the same approach at

 trial – whether through her own testimony or the testimony of other lay witnesses – the

 Court should prevent her from doing so. In other words, under Rule 701, neither Plaintiff

 nor any other lay witness should be allowed to testify (a) that Plaintiff had Stockholm

 syndrome, PTSD, dissociation, or any other psychiatric conditions or symptoms, and/or

 (b) that any alleged behavior, perception, or memory lapses of Plaintiff were caused by

 such purported conditions/symptoms.




                                            5
Case 6:21-cv-00808-WWB-EJK Document 87 Filed 12/06/22 Page 6 of 11 PageID 1692




 II.    Plaintiff and Any Other Witnesses Not Disclosed as Experts May Not Testify
        That Plaintiff Was Diagnosed with or Had Any Particular Psychiatric
        Conditions or Symptoms, and/or That Such Alleged Conditions or
        Symptoms Affected Her Memory, Perception, or Behavior in Any Particular
        Way.

        Federal Rule of Civil Procedure 26(a)(2) requires that a party identify any witness

 it may use at trial to present expert testimony under Federal Rules of Evidence 702, 703

 or 705. See Fed. R. Civ. P. 26(a)(2)(A). Depending upon the type of expert, various

 disclosure requirements are imposed. See Fed. R. Civ. P. 26(a)(2)(B)-(C). “Because the

 expert witness discovery rules are designed to allow both sides in a case to prepare their

 cases adequately and to prevent surprise, compliance with the requirements of Rule 26

 is not merely aspirational.” Reese v. Herbert, 527 F.3d 1253, 1266 (11th Cir. 2008)

 (quotation and citation omitted)). Under Rule 37(c)(1), “[i]f a party fails to provide

 information or identify a witness as required by Rule 26(a) … the party is not allowed to

 use that information or witness to supply evidence on a motion, at a hearing, or at a trial,

 unless the failure was substantially justified or is harmless.” Fed. R. Civ. P. 37(c)(1). This

 rule “provides a self-executing sanction for failure to make a disclosure required by Rule

 26(a), without need for a motion [to compel or conduct a deposition].” See Fed. R. Civ. P.

 37(c), Advisory Committee Note (1993 Amendment); Mobile Shelter Sys. USA, Inc. v.

 Grate Pallet Sols., LLC, 845 F. Supp. 2d 1241, 1251 (M.D. Fla. 2012). Stated simply,

 Plaintiff cannot self-diagnose her purported psychiatric and mental health conditions.

        Furthermore, under Federal Rule of Evidence 701, a witness who is not testifying

 as an expert can testify in the form of an opinion only if it is “rationally based on the

 witness’s perception …, and not based on scientific, technical or other specialized

 knowledge.” Fed. R. Evid. 701. Thus, “the opinion of a lay witness on a matter is

 admissible only if it is based on first-hand knowledge or observation – for example, a


                                               6
Case 6:21-cv-00808-WWB-EJK Document 87 Filed 12/06/22 Page 7 of 11 PageID 1693




 witness’ opinion that a person with whom he had spoken was drunk, or that a car he

 observed was traveling in excess of a certain speed.” U.S. v. Marshall, 173 F.3d 1312,

 1315 (11th Cir. 1999). And Rule 701 permits lay witness testimony only if it is not

 based on scientific, technical, or other specialized knowledge. U.S. v. Williams, 865

 F.3d 1328, 1341 (11th Cir. 2017) (“The central question ... is whether the ... witnesses’

 testimony [is] based on ‘scientific, technical, or other specialized knowledge,’ such that it

 [would be] governed by Rule 702’s expert testimony requirements rather than Rule 701’s

 lay opinion standard.”). The purpose of the rule is “to eliminate the risk that the reliability

 requirements set forth in Rule 702 will be evaded through the simple expedient of

 proffering an expert in lay witness clothing.” Fed. R. Evid. 701, Advisory Committee Note

 (2000 Amendments). To that end, “a witness’ testimony must be scrutinized under the

 rules regulating expert opinion to the extent that the witness is providing testimony based

 on scientific, technical, or other specialized knowledge within the scope of Rule 702

 [governing expert testimony].” Id. So “[b]y channeling testimony that is actually expert

 testimony to Rule 702, [Rule 701(c)] also ensures that a party will not evade the expert

 witness disclosure requirements set forth in Fed. R. Civ. P. 26 … by simply calling an

 expert witness in the guise of a layperson.” Id.

        Importantly, testimony that a plaintiff was diagnosed with or suffered from a

 particular psychiatric condition and/or its symptoms – as opposed to general testimony

 that the plaintiff felt a certain way (such as sore, anxious, or sleep deprived) – requires

 scientific, technical, or specialized knowledge. Thus, testimony that a plaintiff suffered

 from a particular psychiatric condition or its symptoms, or that the condition or its

 symptoms caused certain behaviors or had a particular effect on the plaintiff’s memory or




                                               7
Case 6:21-cv-00808-WWB-EJK Document 87 Filed 12/06/22 Page 8 of 11 PageID 1694




 perception, may be presented only by a properly disclosed expert witness. Compton v.

 Bach, 374 F. Supp. 3d 1296, 1304 (N.D. Ga. 2019) (“While lay witnesses, including

 [p]laintiffs, may not testify on matters requiring an expert, such as a medical diagnosis,

 they may testify as to what they observed”); Gleason v. Franklin, No. CV 15-8380-CBM-

 (DFMx), 2022 U.S. Dist. LEXIS 189516, at *2 (C.D. Cal. Oct. 17, 2022) (“Plaintiff cannot

 offer testimony diagnosing himself with any medical or mental condition or regarding the

 causation of any diagnoses or condition”); Kokoska v. City of Hartford, No. 3:12-cv-01111

 (WIG), 2014 WL 4724879, at *4 (D. Conn. Sept. 23, 2014) (“[i]n the absence of expert

 testimony or medical records, [p]laintiff may not testify that he suffers from a particular

 psychological diagnosis or that such psychological condition is causally related to the

 events giving rise to this claim”); Williams v. Muhammad’s Holy Temple of Islam, Inc., No.

 00 CV 1251 (RML), 2006 WL 297448, at *2 (E.D.N.Y. Feb. 8, 2006) (a lay “witness may

 describe what she observed, but may not provide an opinion regarding the plaintiff's

 mental state, or” even make “a vague suggestion that [the] plaintiff suffered from a

 psychiatric condition”); Crawford v. City of Bakersfield, 944 F.3d 1070, 1079 (9th Cir.

 2019) (emphasis added) (“so long as [plaintiff] stopped short of opining that [her son]

 had a mental illness, she was competent to testify about her own observations of and

 experiences with” him).

        Here, Plaintiff did not disclose herself as an expert witness pursuant to Rule 26,

 nor is she in any way qualified to testify as a psychiatric expert. Accordingly, under

 evidentiary Rule 701 and procedural Rule 37(c), the Court should preclude Plaintiff – and

 any other witness she failed to disclose as an expert – from testifying that she suffered

 from   various   psychiatric   conditions   or   their   symptoms,   and/or   that   these




                                             8
Case 6:21-cv-00808-WWB-EJK Document 87 Filed 12/06/22 Page 9 of 11 PageID 1695




 conditions/symptoms affected her memory, perception, and/or behavior in any particular

 way. See U.S. v. Walshe, 526 F. App’x 834, 838-39 (10th Cir. 2013) (citations omitted)

 (affirming exclusion of witness’s testimony about his father’s “‘mental health issues,’” such

 as “‘his manic depressive state,’” and “whether those mental health issues appeared to

 be affecting the way [his father] was making decisions,” because that was “an attempt to

 have a lay witness testify on a matter about which he had no ‘special skill or knowledge’”);

 Sanchez v. Master Prot., LP, No. CV 20-8472 PSG (RAOx), 2022 WL 2092995, at *2

 (C.D. Cal. May 4, 2022) (citation omitted) (under Rule 701, precluding Plaintiff from “self-

 diagnos[ing] himself with – or testify[ing] as to the symptoms of – depression, anxiety,

 and insomnia” because “[s]uch testimony would stray too far into matters of ‘scientific,

 technical, or other specialized knowledge,’” but allowing him to “testify generally that he

 felt depressed, anxious, or sleep deprived”); Gleason, 2022 U.S. Dist. LEXIS 189516, at

 *4 (precluding plaintiff from “testifying regarding any self-diagnoses, or the causation of

 any diagnoses or condition,” including PTSD); Williams, 2006 WL 297448, at *2

 (precluding lay testimony that plaintiff was “crazy” and lay testimony about the mental

 state of plaintiff and her family members because such testimony does not meet the

 criteria of Rule 701, but allowing witness to describe what she observed).

        Any other ruling will (a) enable Plaintiff to skirt the requirements of Rules 26 and

 37, and Rule 701 of the Federal Rules of Evidence, and (b) unfairly confuse the jury and

 prejudice Cole. The jury may incorrectly believe that any amateur diagnoses and opinions

 announced by Plaintiff came from reputable and qualified experts, and/or that her self-

 opinions are entitled to evidentiary weight. Neither is true, and this motion should be

 granted.




                                              9
Case 6:21-cv-00808-WWB-EJK Document 87 Filed 12/06/22 Page 10 of 11 PageID 1696




  III.   Conclusion.______________________________________________________

         For all of the foregoing reasons, Cole respectfully requests that the Court exclude

  at trial evidence from any lay witnesses – including Plaintiff – (1) that Plaintiff suffered

  from complex PTSD, Stockholm syndrome, any dissociative disorder, or any other

  psychiatric conditions or symptoms, and/or (2) that these conditions/symptoms affected

  her memory, perception, or behavior.

                              Local Rule 3.01(g) Certification

         Pursuant to Local Rule 3.01(g), on December 6, 2022, undersigned counsel for

  Cole conferred with counsel for Plaintiff (Duncan G. Byers, Esq.), who indicated that

  Plaintiff opposes the relief requested here.




                                                 10
Case 6:21-cv-00808-WWB-EJK Document 87 Filed 12/06/22 Page 11 of 11 PageID 1697




                               CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 6th day of December, 2022, I electronically filed
  the foregoing Defendant’s Motion in Limine to Exclude Lay Evidence That Plaintiff
  Had Any Particular Psychiatric Conditions or Symptoms, and/or That Any Such
  Conditions or Symptoms Impacted Her Memory, Perception, or Behavior with the
  Clerk of the Court by using the CM/ECF system, which will send an electronic copy to the
  following:

            Duncan G. Byers, Esquire
            Patten, Wornom, Hatten &
            Diamonstein, L.C.
            12350 Jefferson Avenue, Suite 300
            Newport News, Virginia 23602
            Email: dbyers@pwhd.com
                   cveals@pwhd.com
            Counsel for Plaintiff

                                                 GREENBERG TRAURIG, P.A.
                                                 450 South Orange Avenue, Suite 650
                                                 Orlando, Florida 32801
                                                 Telephone: (407) 420-1000
                                                 Facsimile: (407) 420-5909
                                                 Email: spiveyw@gtlaw.com
                                                        bakerco@gtlaw.com
                                                        nef-iws@gtlaw.com
                                                        FLService@gtlaw.com
                                                 Counsel Defendant Bryan A. Cole

                                                 By: /s/ I. William Spivey, II
                                                     I. William Spivey, II, Esquire
                                                     Florida Bar No. 701076
                                                     Colin S. Baker, Esquire
                                                     Florida Bar No. 0066352


  ACTIVE 683772599v4




                                            11
